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                                                                                                                                                                                                              UNITED STATES DISTRICT COURT
                                                                                                                                                                                                              EASTERN DISTRICT OF LOUISIANA


        IN RE: OIL SPILL by the OIL RIG                                                                                                                                                                                                             *       MDL NO. 2179
        “DEEPWATER HORIZON” in the                                                                                                                                                                                                                  *
        GULF OF MEXICO, on APRIL 20, 2010                                                                                                                                                                                                           *       CIVIL ACTION NO. 2:10-MD-02179
                                                                                                                                                                                                                                                            SECTION: J
                                                                                                                                                                                                                                                            *
        THIS DOCUMENT RELATES TO:                                                                                                                                                                                                                    *      JUDGE BARBIER
                                                                                                                                                                                                                                                            MAG. JUDGE SHUSHAN
        Applies to: All cases in B3 Pleading Bundle
        ********************************************************************


                                  PLAINTIFF MALCOLM COCO’S SUPPLEMENTAL MEMORANDUM TO HIS
                                   MEMORANDUM IN OPOSITION TO NALCO’S MOTION FOR SUMMARY
                                                         JUDGMENT

                                                           Plaintiff’s counsel has had to proceed in this litigation without the ability to propound any

discovery to NALCO, or any other Defendant, having had to depend on the discovery undertaken

by the PSC. In light of the size and budget of the PSC and its being able to bill his own clients

for their attorney fees, he assumed they would diligently pursue discovery. This would have

included obtaining from, at the very minimum, the documents at issue in this matter, namely

NALCO’s filings with EPA when it applied for approval of Corexit.1

                                                           As it turns out, the PSC never bothered to request even these most basic and critical

documents. Further, because it has ignored this critical issue in its Opposition, it apparently did

not even take the time or effort to obtain these documents on its own and outside of formal

Document Requests to NALCO.

                                                           Therefore, although undersigned counsel was prohibited from issuing discovery to

NALCO, he looked for relevant documents on his own.

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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 	  This	  Memorandum	  is	  to	  supplement	  Plaintiff	  Coco’s	  Memorandum	  in	  Opposition	  (#6705;	  filed	  June	  18,	  2012)	  to	  
NALCO’s	  Motion	  For	  Summary	  Judgment	  (#6541;	  filed	  May	  18,	  2012)	  

                                                                                                                                                                                                                                                    1	  
	  
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                                                           Yesterda,y he discovered on the EPA’s website “EPA “Technical Product Bulletin #D-

1”, pertaining to Corexit EC9527A (the version of Corexit with the highly toxic butoxyethanol).

It is attached as Exhibit “1”.

                                                           Bulletin D-1 appears to contain information provided by NALCO to EPA under 40 CFR

Sec 300.915 to get its Corexit approved. A cursory review of it reveals three striking matters:


                                                           First, when it lists butoxyethanol, it does not mention anything about the kidney and liver

damage dangers of butoxyethanol/Corexit 9527 (as detailed in NALCO’s MSDS for it [which is

attached the Coco’s Opposition as Exhibit “B”.])


                                                           Second, the health warning section is abysmal. Presumably this is because, in its desire to

get Corexit approved, NALCO did not furnish EPA with information on the health hazards of

butoxyethanol/ Corexit 95272:




                                                           IV. SPECIAL HANDLING AND WORKER PRECAUTIONS FOR                                                                                                                                                  STORAGE
                                                           AND FIELD APPLICATION:

                                                           1. Flammability: COREXIT® EC9527A is not classified as flammable by either DOT or
                                                           IMO regulations.

                                                           2. Ventilation: Avoid prolonged breathing of vapors. Use with ventilation equal to
                                                           unobstructed outdoors in moderate breeze.

                                                           3. Skin and eye contact; protective clothing; treatment in case of contact: Avoid eye
                                                           contact. In case of eye contact, immediately flush eyes with large amounts of water for at
                                                           least 15 minutes. Get prompt medical attention. Avoid contact with skin and
                                                           clothing. In case of skin contact, immediately flush with    large amounts of water, and
                                                           soap if available.
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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 	  As	  it	  should	  be	  recalled,	  after	  initially	  approving	  the	  use	  of	  Corexit	  9527	  to	  disperse	  the	  spill,	  the	  EPA	  banned	  its	  
use	  after	  a	  few	  days	  (and	  switched	  to	  Corexit	  9500,	  which	  did	  not	  have	  butoxyethanol).	  Presumably,	  had	  the	  EPA	  
previously	  been	  told	  by	  NALCO	  of	  	  the	  full	  health	  hazards	  of	  the	  butoxyethanol,	  EPA	  would	  not	  have	  even	  approved	  
it	  initially.	  

                                                                                                                                                                                                                                                    2	  
	  
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            Remove contaminated clothing, including shoes, after flushing has begun. If irritation
            persists, seek medical attention. For open systems where contact is likely, wear long
            sleeve shirt, chemical resistant gloves, and chemical protective goggles. …




            Third, at the top it says: “Original Listing Date: March 10, 1978; Revised Listing Date:

December 18, 1995”. So, presumably, there was a revision to EC9527A. Under Sec. 300.915(d)

(as noted in Plaintiff’s Opposition), NALCO is required to inform EPA of all changes to

Corexit. But NALCO does not even allege in its MSJ that it has met this requirement. This begs

the question of how many other times NALCO made changes to Corexit and whether it so

advised EPA. This is yet another example of how NALCO has woefully insufficient information

to entitle it to be granted its Motion For Summary Judgment.


       CONCLUSION:

            This technical bulletin if further evidence that NALCO never provided EPA with

       crucial health information about butoxyethanol/Corexit 9527 and, therefore, its

       arguments and “Uncontested Facts” to the contrary are dubious at best.




                                                  Respectfully submitted,

                                                  /s/ Daniel E. Becnel, Jr.
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                                                    Malcolm Alphonse Coco v BP, NALCO et al.
                                                    (11-cv-946)




                                        CERTIFICATE OF SERVICE

               I hereby certify that the above and foregoing pleading has been served on All Counsel
       by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial
       Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
       the United States District Court for the Eastern District of Louisiana by using the CM/ECF
       System, which will send a notice of electronic filing in accordance with the procedures
       established in MDL 2179, on this 13th day of July, 2012.
                                                                         /s/ Daniel E. Becnel, Jr.	  	  




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